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               EXHIBIT A
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                                                                                                    January 25, 2023

            Liam Heeger
            237 Madison Ave, Apt 1605
            New York, NY 10016


            Dear Liam,

            We are very pleased to offer you a position with Jump Operations, LLC, a Delaware limited liability company
            (“Jump” or the “Company”). This offer of at-will employment is conditioned on your satisfactory completion of
            certain requirements, as more fully explained in this letter (the “Offer Letter”). Should you accept this offer, your
            employment will be subject to the terms and conditions set forth in this Offer Letter and in the attached
            Employment Terms, which override anything said to you during your interview process and any of the
            discussions about your employment with Jump.

            Your offer of employment is conditioned upon your satisfactory completion of the following items:

                1. your execution and return of Jump’s enclosed Nonsolicitation, Noncompetition, and Confidential
                   and/or Proprietary Information Agreements;
                2. your execution and return of the attached Employment Terms;
                3. receipt of satisfactory results to full background check; and
                4. verification of your right to work in the United States.


            This Offer Letter, the Nonsolicitation Agreement, the Noncompetition Agreement, the Confidential and/or
            Proprietary Information Agreement, and the Employment Terms constitute the “Employment-Related
            Agreements.” You agree to devote your full business time, attention, and best efforts to the performance of
            your duties and to the furtherance of Jump’s interests and to comply in all material respects with all applicable
            policies and procedures contained in the Company’s Employee Handbooks and compliance policies.

            Your employment at all times with Jump is “at will,” meaning that either Jump or you may terminate
            this employment relationship at any time with or without Cause (as defined in the Confidential and/or
            Proprietary Information Agreement) or notice.

            The dispute resolution, law and jurisdiction provisions contained in your Confidential and/or Proprietary
            Information Agreement shall apply to this Offer Letter (including to the Employment Terms) and our overall
            relationship. The Employment-Related Agreements may only be amended or modified by an express written
            agreement signed by you and by a duly authorized signatory of Jump.

            Please give us a call if you have any questions about this offer, which, if not accepted in writing before then,
            will expire on February 7, 2023, but in no event less than fourteen (14) days after you receive this Offer
            Letter. We are excited to have you join our team and look forward to your acceptance!


            Very Truly Yours,




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                                                     Jump Operations, LLC
                                    600 West Chicago Avenue · Suite 600 · Chicago, Illinois 60654
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                                                       EMPLOYMENT TERMS


                       All Employment Terms are subject to the terms and conditions of the preceding offer letter.

                   You will be hired as a full-time Software Engineer, based in Chicago, IL and commencing on
                 February 21, 2023.

                     This is an Exempt position.

                  o Your position classification as “Exempt” means you are a salaried employee and are not eligible for
                 overtime compensation.



            Annual Base Salary:                                                                $200,000.00
            Payable on the 15th and last day of each month at a semimonthly rate of $8,333.33, effective on your first day
            of employment. All compensation is subject to applicable taxes.


            Discretionary Bonus Eligibility:                                                     Yes


            Commencing in fiscal year 2023, you will be eligible to participate in the Company’s discretionary bonus
            program pursuant to the Company’s Incentive Bonus Plan (as it may be amended, restated, supplemented,
            or otherwise modified from time to time, the “Plan Document”), which is described in the attached Incentive
            Bonus Plan Summary. Discretionary bonuses are determined by the Company in its sole discretion. Any
            discretionary bonus or portion thereof may be awarded as either an “Immediate Bonus Award” or a
            “Deferred Bonus Award” as defined in and pursuant to the Plan Document and the terms of your bonus
            award and shall be paid in accordance with the terms and subject to the conditions therein. As explained in
            the Plan Document and the Incentive Bonus Plan Summary, if due, the Immediate Bonus Award portion of
            your bonus will vest and will be paid on the date that your department or trading team (as applicable)
            receives their Immediate Bonus Awards for the fiscal year, which shall be within two and a half months
            following the end of the fiscal year to which such bonus relates.

            Sign-On:                                                                            Yes

            You will be issued a sign-on bonus of $25,000.00 (“Sign-On Bonus”), subject to applicable taxes, on your
            second paycheck. If within twelve (12) months of your start date you either (x) voluntarily terminate your
            employment with the Company for any reason whatsoever other than the Company’s material breach of the
            Employment-Related Agreements when such breach, if curable, goes uncured for more than five (5)
            business days following receipt of written notice of breach from you or (y) are terminated for Cause, you
            agree to repay to the Company the Sign-On Bonus minus a pro rata amount for the amount of time you
            were actively employed by the Company during that twelve (12) month period. The Company is authorized
            to deduct any repayment amount from your final paycheck. You agree to repay any remaining balance
            within thirty (30) days after the effective date of your separation of employment.


            One-Time Guaranteed Minimum Bonus:


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            Subject to the terms set forth below, you will receive an annualized One-Time Guaranteed Minimum Bonus
            of $200,000.00 for the fiscal year of your department or trading team ending on the last day of December of
            2023 (the “Fiscal Year End Date”), pro-rated based on when in the fiscal year your employment
            commences, subject to applicable taxes. Fifty percent of this One-Time Guaranteed Minimum Bonus will be
            an Immediate Bonus Award and fifty percent will be a Deferred Bonus Award. Such Immediate Bonus
            Award, if due, will be paid on, or within two-and-one-half months following, the Fiscal Year End Date. One-
            half of such Deferred Bonus Award, if due, will be paid six months following the Fiscal Year End Date and
            the remaining half, if due, shall be paid twelve months following the Fiscal Year End Date.

            You will not receive any unvested amounts of your One-Time Guaranteed Minimum Bonus in the event that
            prior to vesting (1) you voluntarily terminate your employment with the Company for any reason whatsoever
            other than the Company’s material breach of the Employment-Related Agreements when such breach is not
            cured within five (5) business days following receipt of written notice of breach from you, (2) you are
            terminated by the Company for Cause (as defined in the Confidential and/or Proprietary Information), or (3)
            you materially breach your obligations to the Company as set forth in the Employment-Related Agreements.
            This One-Time Guaranteed Minimum Bonus applies to the 2023 fiscal year only and is not a guarantee or
            indication of any future bonus amount (if any) that may be awarded pursuant to the discretionary bonus
            program. If your employment commences on a date that is later than the start date indicated in your Offer
            Letter for reasons other than a delay solely attributable to Jump, this One-Time Guaranteed Minimum Bonus
            may, in Jump’s sole discretion, be pro-rated based upon your actual start date. Where a bonus award
            payment date is not a business day, that payment will be made on the immediately prior business day. The
            Company reserves the right to pay any unvested portion of your One-Time Guaranteed Minimum Bonus
            prior to the vesting date for such amounts, provided that (1) any such payment must occur in the same
            calendar year as the vesting date for such amounts, and (2) any such payment shall be subject to such
            terms and conditions as may be agreed in writing between yourself and the Company.

            Notwithstanding anything to the contrary herein or in the Plan Document, in the event that prior to payment
            of one or more portions of this bonus (x) you are terminated by the Company without Cause or (y) you
            voluntarily terminate your employment with the Company due to the Company’s material breach of the
            Employment-Related Agreements where such breach is not cured within five (5) business days following
            receipt of written notice of breach from you, then it shall not be a requirement to remain actively employed
            by the Company through the end of the designated vesting period(s) nor shall it be a requirement that you
            have not given or received notice of termination on or before the bonus payment date(s) in order to vest in
            any remaining unvested portions of this bonus.


            Relocation Assistance:                                                 Eligible

            Following your acceptance of this offer, you will be contacted by a relocation counselor who will explain the
            details of this benefit. All arrangements will be made through Jump’s relocation counselor.




            Vacation Days:                                                    20

            You will be eligible for paid time off each year, prorated based on your start date through the end of the
            calendar year.

            Benefits:


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            As an employee of Jump, you will be eligible to participate in our comprehensive benefits program as outlined
            in the accompanying materials.


            I have read, I understand, and I hereby accept Jump’s offer of employment and the terms set forth herein.
            I represent, warrant, and covenant to Jump that I am under no contractual commitments inconsistent
            with my obligations to Jump and that I have not violated and will not violate any existing confidentiality,
            nonsolicitation, or noncompetition obligations to which I am subject. I understand that my employment
            with Jump is considered “at will,” meaning that either Jump or I may terminate this employment
            relationship at any time with or without cause or notice.


            Accepted By:

            {{CANDIDATE_SIGNATURE}}
            Liam Heeger           Date: {{CANDIDATE_SIGNATURE_DATE}}
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                                                    Jump Operations, LLC
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                                         JUMP OPERATIONS, LLC AND ITS AFFILIATES
                                                   (THE “COMPANY”)

                                               INCENTIVE BONUS PLAN SUMMARY

            This overview of the Incentive Bonus Plan (the “Plan Document”) contains important information regarding
            the payment of bonuses. Any capitalized terms used and not defined herein shall have the meanings given
            to them in the Plan Document. In the event of any inconsistency between this summary and the Plan
            Document, the Plan Document shall govern. Please contact Human Resources to receive a copy of the Plan
            Document.

            Bonus Award:

            All bonuses granted under the Plan Document (“Incentive Bonuses”) are subject to two possible types of
            payouts: immediate (an “Immediate Bonus Award”) and deferred (a “Deferred Bonus Award”). Except as
            may be specified by the Company in writing at the time of an award grant, where a Deferred Bonus Award is
            granted, fifty percent of the Incentive Bonus will be an Immediate Bonus Award and fifty percent will be a
            Deferred Bonus Award. Unless the document granting an Immediate Bonus Award and/or a Deferred Bonus
            Award provides otherwise, such awards shall be allocated and paid as follows, subject to the vesting
            conditions described below:

                       1. the portion of an Incentive Bonus award that is granted as an Immediate Bonus Award shall
                          be paid on, or within two-and-one-half months following, the last day of the relevant fiscal year
                          for the employee’s trading team or department (such fiscal year being the “Performance
                          Period” and such payment date being the “Immediate Bonus Award Payment Date”); and
                       2. for employees who are newly eligible to participate in the Incentive Bonus Plan, the portion of
                          an Incentive Bonus award that is granted as a Deferred Bonus Award, if any, will be paid in
                          two equal installments, the first of which will be paid six months and the second of which will
                          be paid twelve months following the end of the Performance Period.

            Except as otherwise agreed by the Company in writing in a specific instance, the amount and type of any
            discretionary bonus award shall be determined by the Company in its sole and absolute discretion, and may
            be based, in whole or in part, on individual performance and/or the profitability of the Company or of a
            particular business unit for the relevant Performance Period. The Company will determine discretionary
            bonus awards at the conclusion of each Performance Period. Except as otherwise agreed by the Company
            in writing in a specific instance, all Incentive Bonus awards shall be subject to the vesting conditions
            described below.

            Vesting Period and Illustrative Chart:

            “Vesting” refers to your entitlement to a bonus payment. Any portion of an Incentive Bonus that does not vest
            will not be paid. Except as otherwise agreed by the Company in writing in a specific instance, the relevant
            portion of an Incentive Bonus will vest when the designated vesting period has ended if through the end of
            that period:

                      1. The employee remains employed by the Company;
                      2. The employee has not given or received notice of termination for any reason on or before the
                         bonus payment date; and
                      3. The employee has complied with the employee’s material obligations to the Company, including
                         noncompetition, nonsolicitation, and confidentiality obligations.

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            The vesting period for Immediate Bonus Awards shall end on the Immediate Bonus Award Payment Date.
            The vesting period for each portion of a Deferred Bonus Award shall end on the specified payment date
            for that portion of the Deferred Bonus Award.

            To illustrate the foregoing, in the event that the Company grants a newly eligible employee both an Immediate
            Bonus Award and a Deferred Bonus Award, the bonus awards for such employee will be subject to the
            allocations and vesting schedule below, unless the document granting such Immediate Bonus Award and
            Deferred Bonus Award provides otherwise:

             Percentage of Total Incentive              Type of Award                  Vesting and Payment Date
                       Bonus
                        50%                         Immediate Bonus Award         Team or department Immediate Bonus
                                                                                          Award Payment Date
                            25%                     Deferred Bonus Award           6 months following the conclusion of
                                                                                        the Performance Period
                            25%                     Deferred Bonus Award          12 months following the conclusion of
                                                                                        the Performance Period


            Where a bonus award payment date is not a business day, that payment will be made on the immediately
            prior business day. All payments are subject to applicable taxes and governmentally required withholdings
            at the time of payment. The Company reserves the right to institute different award allocations and/or vesting
            dates for any particular Incentive Bonus award at the time such award is granted. The Company may amend,
            supplement, restate, or otherwise modify the Plan Document from time to time in its sole discretion. If at any
            point there is no operative separate Plan Document then this Incentive Bonus Plan Summary shall constitute
            the Plan Document.

            Interest:

            The Company may pay, but shall not be obligated to pay, interest on an annual basis on Deferred Bonus
            Awards in amounts to be determined by the Company in its sole discretion.




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